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                 EXHIBIT 1
         Case 3:23-cv-03417-VC Document 199-2 Filed 10/03/24 Page 2 of 15




Kathleen R. Hartnett                                                                              VIA EMAIL
T: +1 415 693 2071
khartnett@cooley.com




September 27, 2024

To:     Plaintiffs’ Counsel of Record

Re:     Kadrey et al. v. Meta Platforms, Inc., Case No. 3:23-CV-03417
        Plaintiffs’ Request to Modify Court-Ordered Case Schedule

Dear Counsel:

We write following our meet and confer yesterday evening about your case schedule proposal, which we
attach as Exhibit A (Plaintiffs’ counsel screenshare from September 26, 2024 meet and confer). Attached
as Exhibit B is the parties’ email exchange in advance of the meet and confer, which includes the initial
schedule proposal you sent by email on September 24, 2024.

We would like to be able to come to an agreement on any additional scheduling adjustments, including to
avoid the need to burden the Court with unnecessary motion practice. Respectfully, however, as we told
you on our call, we cannot agree to your proposed schedule for extending case deadlines and expanding
discovery because, among other reasons, it does not comport with the Court’s clear instructions regarding
any additional scheduling modifications.

At the September 20, 2024 hearing, after reviewing several rounds of written submissions and discussion
with the Magistrate Judge, the Court denied Plaintiffs’ motion to extend case deadlines, including the
September 30, 2024 fact discovery cutoff, other than in two discrete respects: the Court “extended the fact
discovery cut off by 14 days for the purpose of taking depositions that couldn't be scheduled before the
discovery cut-off,” Dkt. 163 (minute entry), and the Court extended expert report deadlines by approximately
a week, id. The Court also stated that it would “consider a renewed extension of time if Mr. Saveri comes
in with a newly constituted team and can articulate clearly what is missing that is critical for the
resolution of the fair use issue.” Id. (emphasis added); see 9/20/24 Tr. at 39 (“if you come in with a newly
constituted team and can articulate clearly what it is you’re missing that is critical for the resolution
of the fair use issue, and you want to file a renewed request for an extension of time, I’ll consider it. But
it has to make – it has to make very clear, you know, sort of what’s missing that is important to the
resolution of the fair use issue at summary judgment” (emphasis added)).

In light of these rulings by the Court, we asked for yesterday’s meet and confer to understand (1) what
additional discovery Plaintiffs specifically claim to need to address fair use at summary judgment, and (2)
why that additional proposed discovery warranted the schedule extension Plaintiffs proposed by email on
September 24. We also asked you to provide this information in writing before the meet and confer, which
you did not do.

On our call, Plaintiffs took the position that, despite the Court’s order requiring a specific showing of need
for any additional scheduling extension, they should be permitted to have the requested extension due to
Boies Schiller Flexner’s (“BSF’s”) recent addition to the case as counsel and that firm’s need to “get up to
speed.” We directed counsel to the above statements of the Court requiring a showing of need, but you
took the position that despite those statements, the Court would likely not require such a showing given the
recent addition of new counsel. Although we asked several times what additional discovery Plaintiffs
believe they need and would seek from the Court, Plaintiffs indicated they would not agree to any limitations

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David Boies
September 27, 2024
Page Two

on discovery in advance—such as numbers of depositions or additional requested custodians—but that
Plaintiffs’ counsel would need to obtain the scheduling extension first and then make those determinations.
Further, Plaintiffs’ proposed expansion of the schedule contemplates reopening discovery in nearly all
respects—initial disclosures, written discovery, custodians, and deponents—as well as amending the
complaint.

With the caveat that Plaintiffs’ list was still in formation, you provided us with various categories of
information purportedly relevant to fair use factors 1 and 4 that you believe Plaintiffs need based on your
initial review of the record but that allegedly has not been provided in discovery. Your list of categories
included allegedly non-produced datasets purportedly used by Meta to train Llama; 1 information about
scripts allegedly run by Meta on training data; and Meta documents regarding potential licensing
arrangements. Based on our understanding of the materials you were describing, these materials have
either been produced already in discovery, will be the subject of deposition testimony, and/or are not “critical
for the resolution of the fair use issue,” as the Court has required. Dkt. 163. 2

You further demanded that we tell you all grounds on which Meta plans to move for summary judgment;
you took the position that any “standing” issues should have been resolved by us filing a motion to dismiss
rather than at summary judgment; you claimed that our amended initial disclosures are defective; you asked
us to stipulate to various elements of Plaintiffs’ claims based on statements made by the Court at the
September 20, 2024 hearing; and you accused us of seeking to deprive Plaintiffs of damages discovery
(apparently based on the misconception that we are currently in both class and merits discovery, when in
fact, discovery in this case has been bifurcated). We explained why we disagreed with these requests and
allegations, which, in any event, do not support your proposed scheduling extension.

In addition, you told us that if we cannot agree to your proposed schedule or something similar, you will
simply file a motion for the extension, and that you also could always file a new case in a different court.
Respectfully, we do not believe that is what the Court had in mind. Moreover, if that is what you were
suggesting, under Rule 41 you cannot simply dismiss this case and refile a new one elsewhere at this
juncture.

As we conveyed at the September 20 hearing, although Meta has been frustrated with the litigation conduct
to date of Plaintiffs’ counsel and the unfounded accusations made against Meta in Plaintiffs’ filings, Meta
has nonetheless thoroughly responded to Plaintiffs’ discovery requests and this case has otherwise been
the subject of extensive discovery to date. Once depositions are complete in the coming weeks pursuant
to the Court’s scheduling adjustment ordered on September 20, Plaintiffs and the Court will have the record
they need to properly brief summary judgment in this case and there will be nothing “missing that is critical
for the resolution of the fair use issue.” Dkt. 163. Accordingly, there is no basis for your requested
extension.

As we told you on the call, we remain open to discrete adjustments to the case schedule or scope of
discovery based on a showing of specific need. For example, at Plaintiffs’ request, we adjourned today’s
deposition of Alex Boesenberg. In addition, after we went to great trouble to secure time for you to depose
Dr. Yann LeCun, Meta’s Chief AI Scientist, on September 30, Plaintiffs’ counsel informed us that they could


1 On the call, you mentioned “Anna’s Archive,” and “Z Lib” as unproduced datasets.  Notably, Anna’s Archive
and Z Lib are not datasets, but publicly available websites. As such, we do not understand your request.
2 We note that our meet-and-confer call was attended, for Plaintiffs, by only four new attorneys from BSF

and two relatively junior members from the Saveri firm, but no other existing Plaintiffs’ counsel. We had
asked prior to the call whether Plaintiffs’ counsel more broadly would be invited and attending to ensure
that new counsel is able to leverage the knowledge of existing counsel rather than starting from scratch.
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David Boies
September 27, 2024
Page Three

not be available to take that deposition. Just this morning, we had a call in which Plaintiffs’ counsel informed
us that they intend to adjourn the depositions of Nikolay Bashlykov and Hugo Touvron, which we had gone
to great burden and expense to arrange for in London on October 1st and 3rd. We will work with Plaintiffs
to reschedule these depositions consistent with the Court-ordered schedule and we continue to work with
all of Plaintiffs’ counsel to respond to their questions and follow-ups on discovery. If there is discrete, new
discovery that you would like us to consider in view of the Court’s Order and the present posture of the
case, or if additional time is needed to schedule the noticed depositions, we welcome further conferral to
that end or otherwise. What we cannot agree to is a significant, unprincipled reopening of all discovery,
contrary to the requirements of the Court’s order.

Finally, although secondary to the foregoing issues, we observe that the scheduling proposal that you sent
to us is unworkable in several additional respects. For example, it suggests that expert discovery would be
complete two weeks after rebuttal reports; that would require the scheduling of numerous depositions in a
very short time frame, and assuming that was possible, it would leave no time for review of rebuttal reports
relative to the depositions. It also contemplates roughly a week between the close of expert discovery and
Daubert motions, which does not leave time to (1) schedule and take the expert deposition; (2) obtain and
review full transcripts and exhibits; and (3) prepare a motion that reflects expert deposition testimony.
Likewise, with expert depositions occurring in the week or two prior to the MSJ deadline, the parties would
have no reasonable opportunity to consider any expert deposition testimony in their opening papers. We
note that the proposal provides only two weeks for replies, which is unreasonably tight given what are likely
to be substantial opposition briefs and supporting papers. And we doubt the Court would appreciate a six-
day turnaround between reply and Daubert briefs and the summary judgment hearing. If the objective is
to provide the parties with an opportunity to provide the Court with a complete record, and to provide the
Court reasonable time to consider that record, the proposed schedule does not accomplish that.

We remain available to meet and confer and look forward to receiving specifics about Plaintiffs’ proposals.

Sincerely yours,




Kathleen R. Hartnett

Counsel for Defendant Meta Platforms, Inc.




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                      Exhibit A
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                      Exhibit B
                Case 3:23-cv-03417-VC Document 199-2 Filed 10/03/24 Page 8 of 15


Hartnett, Kathleen

From:                             Maxwell Pritt <mpritt@BSFLLP.com>
Sent:                             Thursday, September 26, 2024 2:33 PM
To:                               Hartnett, Kathleen; Ghajar, Bobby A.
Subject:                          RE: Kadrey v. Meta - Proposed Amended Case Management Schedule



[External]

Great, I’ll circulate a Zoom. And yes, there will be other counsel. I don’t believe we’ll be in a position to send a
written list of discovery needs in advance, nor would we be able to commit that everything we discuss tonight is all
we might need. But we can of course discuss things like aggressive deadlines for identifying and resolving issues
as to existing written discovery and productions, serving any additional written discovery and deposition notices,
etc. The sort of deadlines we wouldn’t put in an stip and prop order.

Best,
Max

From: Hartnett, Kathleen <khartnett@cooley.com>
Sent: Thursday, September 26, 2024 1:51 PM
To: Maxwell Pritt <mpritt@BSFLLP.com>; Ghajar, Bobby A. <bghajar@cooley.com>
Subject: RE: Kadrey v. Meta - Proposed Amended Case Management Schedule


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Thank you, Max. We can do 6 PT tonight. Will other plaintiffs’ counsel be on too? We think that is necessary to
ensure our discussions encompass the varied issues on the table; to that end, there is another email today from
preexisting plaintiffs’ counsel to Meta seeking to reach an agreement on 30b1/30b6 timing issues, and I don’t think
the BSF team is copied on that. (Let us know if we should copy you in.) Also, we would appreciate a written
proposal on the topics noted below (need/scope) before our M&C.

Thank you!
Kathleen

From: Maxwell Pritt <mpritt@BSFLLP.com>
Sent: Thursday, September 26, 2024 1:23 PM
To: Hartnett, Kathleen <khartnett@cooley.com>; Ghajar, Bobby A. <bghajar@cooley.com>
Subject: RE: Kadrey v. Meta - Proposed Amended Case Management Schedule

[External]

No problem, and thanks for the transcript. Could you do 6pm pacific though? Hate to ask you to do it around
dinnertime (especially because I’m supposed to be meeting Judge Murguia for dinner then), but it’s the earliest
time we have today. Let me know.

Best,
Max
                                                             1
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From: Hartnett, Kathleen <khartnett@cooley.com>
Sent: Thursday, September 26, 2024 12:39 PM
To: Maxwell Pritt <mpritt@BSFLLP.com>; Ghajar, Bobby A. <bghajar@cooley.com>
Subject: RE: Kadrey v. Meta - Proposed Amended Case Management Schedule


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Hi again,

Can plaintiffs’ counsel be available this afternoon to begin our meet and confer? Given that we were willing to
postpone tomorrow’s depo, and the impending motion to compel deadline Monday (and other upcoming events),
we think we should begin discussions as soon as possible. We also will want to receive something in writing from
plaintiffs’ counsel re both the specific need for the additional discovery and the proposed scope of that discovery
so that we can assess and take it back to our client (though we can do a call today before receiving that.

Thanks!
Kathleen

From: Hartnett, Kathleen
Sent: Thursday, September 26, 2024 12:32 PM
To: Maxwell Pritt <mpritt@BSFLLP.com>; Ghajar, Bobby A. <bghajar@cooley.com>
Subject: RE: Kadrey v. Meta - Proposed Amended Case Management Schedule

Thanks Max – the 9/20 transcript is attached. We’ll follow-up re the M&C time as soon as we circle on our end.

Thanks!
Kathleen

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Pronouns: she, her, hers




From: Maxwell Pritt <mpritt@BSFLLP.com>
Sent: Thursday, September 26, 2024 12:26 PM
To: Ghajar, Bobby A. <bghajar@cooley.com>; Hartnett, Kathleen <khartnett@cooley.com>
Subject: Re: Kadrey v. Meta - Proposed Amended Case Management Schedule

[External]

Not going to take my work for it, hah. Sorry for the delay in responding, but I was in a baby + me music
class with Darius; fun but strange as you well know.

                                                             2
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Can we do the M&C on the schedule tomorrow at 10am pacific? We also can make any time between
then and noon pacific work, just let me know.

Also, do you have a copy of the transcript from Friday you can send me? I know plaintiffs’ counsel
requested it too, but I haven’t been able to get my hands on it yet. So I’d appreciate it.

Finally, thank you regarding Mr. Boesenberg's deposition. I am confirming we will reschedule it for a later
date.

Thank you.

Best,
Max



From: Hartnett, Kathleen <khartnett@cooley.com>
Sent: Thursday, September 26, 2024 11:12 AM
To: Maxwell Pritt <mpritt@BSFLLP.com>; Ghajar, Bobby A. <bghajar@cooley.com>
Subject: RE: Kadrey v. Meta - Proposed Amended Case Management Schedule


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Hi Max,

Thank you for your email. We appreciate your proposal and look forward to discussing it with you, as the parties
will need to meet and confer before any motion is filed. As you are also likely aware, Judge Chhabria made clear
at last Friday’s hearing that he was not altering the case schedule further absent a specific showing of need. See
9/20 Tr. at 39 (“if you … can articulate clearly what it is you’re missing that is critical for the resolution of the fair
use issue … I’ll consider it. But it has to make … very clear … what’s missing that is important to the resolution of
the fair use issue at summary judgment.”).

With that in mind, and given that Plaintiffs presented – just a week ago – their various arguments as to why the
Court should extend the schedule, which the Court rejected, we’d like to better understand your claimed need for
additional discovery. Relatedly, we would like to know the specific subjects/scope of proposed additional
discovery Plaintiffs intend to seek, in order to evaluate your proposal.

As we work together in an effort to obviate motion practice (including on the motions to compel due Monday), we
are willing to oblige Plaintiffs’ request to adjourn Mr. Boesenberg’s deposition tomorrow and reschedule it to the
next available date, assuming the parties can meet and confer on the scheduling issues today and tomorrow.

We look forward to your response.

Thanks!
Kathleen

Kathleen R. Hartnett
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                                                             3
                  Case 3:23-cv-03417-VC Document 199-2 Filed 10/03/24 Page 11 of 15
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Pronouns: she, her, hers




From: Maxwell Pritt <mpritt@BSFLLP.com>
Sent: Thursday, September 26, 2024 9:22 AM
To: Ghajar, Bobby A. <bghajar@cooley.com>
Cc: Hartnett, Kathleen <khartnett@cooley.com>
Subject: Re: Kadrey v. Meta - Proposed Amended Case Management Schedule

[External]

Thank you, Bobby. Available at your convenience on this matter. As you can imagine, we’ll be moving
forward expeditiously with moving for a renewed extension unless and until we stipulate to one. But I
nonetheless remain hopeful what I proposed was as reasonable for Meta as for the plaintiffs.

Best,
Max

From: Ghajar, Bobby A. <bghajar@cooley.com>
Sent: Thursday, September 26, 2024 9:08:23 AM
To: Maxwell Pritt <mpritt@BSFLLP.com>
Cc: Kathleen Hartnett <khartnett@cooley.com>
Subject: Re: Kadrey v. Meta - Proposed Amended Case Management Schedule


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recognize the sender.



Good morning Max, I wanted to acknowledge receipt of your email and I look forward to working with you.
Kathleen is traveling back from the East Coast and we will be back in touch shortly.

Bobby


         On Sep 25, 2024, at 9:06 PM, Maxwell Pritt <mpritt@bsfllp.com> wrote:

          [External]

         Kathleen, Bobby: Just checking in again on the below.

         Thank you.

         Best,
         Max
                                                      4
         Case 3:23-cv-03417-VC Document 199-2 Filed 10/03/24 Page 12 of 15



From: Maxwell Pritt <mpritt@BSFLLP.com>
Sent: Wednesday, September 25, 2024 2:26 PM
To: Hartnett, Kathleen <khartnett@cooley.com>
Cc: Ghajar, Bobby A. <bghajar@cooley.com>
Subject: RE: Kadrey v. Meta - Proposed Amended Case Management Schedule

Thanks very much, Kathleen, and nice to meet you, Bobby. I’m happy to jump on another call at
any point today, or happy to schedule one for tomorrow morning if you prefer.

Best,
Max

From: Hartnett, Kathleen <khartnett@cooley.com>
Sent: Wednesday, September 25, 2024 2:25 PM
To: Maxwell Pritt <mpritt@BSFLLP.com>
Cc: Ghajar, Bobby A. <bghajar@cooley.com>
Subject: RE: Kadrey v. Meta - Proposed Amended Case Management Schedule


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sender.




Thank you, Max, and good speaking to you. I look forward to connecting further and introducing you
to our team. Copying my partner Bobby.

Thanks,
Kathleen

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www.cooley.com/people/kathleen-hartnett
Pronouns: she, her, hers




From: Maxwell Pritt <mpritt@BSFLLP.com>
Sent: Wednesday, September 25, 2024 4:51 PM
To: Hartnett, Kathleen <khartnett@cooley.com>
Subject: Kadrey v. Meta - Proposed Amended Case Management Schedule

[External]

Hi Kathleen,

It is a pleasure to get to work with you again and hope we can catch up outside of this matter before
too long.
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Here is the proposed amended case management schedule that I relayed over the phone just now:

       Close of Fact Discovery due by 12/13/2024.
       Opening Reports due by 12/20/2024 [alternatively, if your team prefers, the deadline could
        be in mid-November and overlap some with fact discovery, with the understanding that
        experts could amend their reports based on new discovery obtained between then and the
        cutoff]
       Rebuttal Reports due by 1/15/2025.
       Close of Expert Discovery due by 1/31/2025.
       Opening MSJ/Daubert Briefs due by 2/7/2025.
       Opposition MSJ/Daubert Briefs due by 3/7/2025.
       Reply MSJ/Daubert Briefs due by 3/21/2025.
       Motion For Summary Judgment Hearing set for 3/27/2025 at 10:00 AM (or the Court’s
        convenience).

(N.B. – We noticed in Monday’s minute entry a deadline for reply rebuttal reports, but that deadline
is not in the initial scheduling order as modified, and we do not see the need to do such reports in
this case.)

We recognize both your client’s need not to re-do or re-start any discovery and Judge Chhabria’s
desire to hear summary judgment in March. So we attempted to put together something that
appears to us the most reasonable, while maintaining a fast pace, regardless of which side we’re
on. I hope this is the sort of proposal that the parties might be able to agree upon given Judge
Chhabria’s statements now that we’ve jumped into the case and file a stipulation and proposed
order. If you and your client are amenable, hopefully we could file it quickly and just move past this
issue.

You mentioned Mr. Zuckerburg’s deposition—certainly happy to accommodate scheduling issues
if there’s agreement on the schedule. You also mentioned other aspects of his deposition such as
length. I can’t speak to that at the moment, but I would hate for that to hold up this discussion, as
opposed to being part of a discussion potentially to obviate any need to appeal the order to Judge
Chhabria. As I mentioned, we certainly will approach the issue in good faith and are not in this to
waste time.

Thank you.

Best,
Max

****

Current CMS (as I understand it):

       Close of Fact Discovery due by 9/30/2024, except that depositions that couldn't be
        scheduled before 9/30 can be taken up to 14 days after this deadline per Dkt. 163.
       Opening Reports due by 10/11/2024.
       Rebuttal Reports due by 11/8/2024.
       Reply Rebuttal Reports due by 12/2/2024.
       Close of Expert Discovery due by 12/20/2024.
       Opening MSJ/Daubert Briefs Due by 1/10/2025.
       Opposition MSJ/Daubert Briefs Due by 2/7/2025.

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                      Reply MSJ/Daubert Briefs Due by 2/21/2025.
                      Motion For Summary Judgment Hearing set for 3/6/2025 at 10:00 AM

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use of this communication is strictly prohibited and no privilege is waived. If you have received this communication in error, please immediately notify the sender by replying to
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